                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION (DETROIT)


In re:                                                       Chapter 11

Residents First, LLC,                                        Case Number 23-49817

         Debtor.                                             Hon. Mark A. Randon

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                               AMENDED SCHEDULING ORDER

         On February 26, 2024, the Court held a status conference. For the reasons stated on the

record and at the request of the parties, the Court amends the scheduling order as follows:

         1.     Amended Plan due on or before March 7, 2024

         2.     Ballots and/or objections due on or before April 10, 2024

         3.     Confirmation hearing on April 24, 2024, at 11:00 a.m.

         The parties shall also appear for a status conference on March 18, 2024, at 11:00 a.m.

At least five minutes before the scheduled time for hearing, the parties should call (202) 503-

1666 and use Conference ID 231 911 059#. Please place phone on mute and wait until your case

is called. Once case is called, unmute phone and participate.



         IT IS ORDERED.
Signed on February 26, 2024




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